    Case: 3:21-cr-00051-MJN Doc #: 2 Filed: 02/04/22 Page: 1 of 1 PAGEID #: 185




                        IN UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA                     )
                                             )
               vs                            )              Case No. 3:21CR051
                                             )
                                             )
   PATRICK PUTTICK


                    ORDER TERMINATING SUPERVISED RELEASE




On December 20, 2019, the above named commenced a three-year term of supervised release

following his term of imprisonment.      Based on the recommendation of the U.S. Probation

Department and for good cause shown, it is hereby ordered Patrick Puttick is discharged from

supervised release and the proceedings in this case be terminated.

       IT IS SO ORDERED.



Dated this   4th day of     February             , 2022




                                       _____________________________________________
                                        s/Michael J. Newman
                                       Michael J. Newman
                                       United States District Judge
